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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

LOCKWOOD INTERNATIONAL, INC.

VS.

WELLS FARGO BANK, NATIONAL
ASSOCIATION; WELLS FARGO
SECURITIES, LLC; and TRUSTMARK
NATIONAL BANK

V.                                                               C. A. NO. 3:17-CV-365


LOCKWOOD ENTERPRISES, INC., LMG
MANUFACTURING, INC., PIPING
COMPONENTS, INC., LOCKWOOD
HOLDINGS, INC., LH AVIATION, LLC,
7807 EAGLE LANE LLC, AND
MICHAEL F. LOCKWOOD,
          Third-Party Defendants.

             THIRD-PARTY DEFENDANT MICHAEL F. LOCKWOOD’S
               RESPONSE IN OPPOSITION TO MOTION TO STRIKE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Third Party Defendant Michael F. Lockwood, and, for his Response

in Opposition to the Motion to Strike Unsworn Declaration (D.E. 43), would respectfully

show as follows.

       Michael F. Lockwood is the sole Director, President and CEO of the Debtor Entities,

and, pursuant to the similarly worded bylaws of the Debtor Entities and Texas law, the

Debtors must indemnify and hold him harmless for expenses he incurs in connection with

this proceeding, as well as against any judgment in the guaranty action. As shown in
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Lockwood’s Motion to Extend Stay (D.E. 41), Lockwood International, Inc. (LII)’s bylaws

provide the corporation must indemnify its director; for example, Article VI, Indemnification

and Interested Transactions, provides:

       Section 2. Right to Indemnification:

       Each person who . . . is made a party . . . in any Proceeding, by reason of the
       fact that he or she is the legal representative, is or was a Director, or an officer,
       employee, or agent of the corporation whether the basis of such proceeding is
       alleged action in an official capacity as a Director, or as an officer, employee,
       or agent or in any other capacity while serving as a Director, or as an officer,
       employee or agent of the Corporation, shall be indemnified and held harmless
       by the Corporation to the fullest extent authorized by the Texas Business
       Corporation Act . . . .1

Moreover, Section 8.051 of the Texas Business Organization Code, the successor to the

Texas Business Corporations Act, provides: “MANDATORY INDEMNIFICATION. (a)

An enterprise shall indemnify a governing person, former governing person, or delegate

against reasonable expenses actually incurred by the person in connection with a proceeding

in which the person is a respondent because the person is or was a governing person or

delegate if the person is wholly successful, on the merits or otherwise, in the defense of the

proceeding.       Additionally, Section 8.101 of the Code provides, “PERMISSIVE

INDEMNIFICATION. (a) An enterprise may indemnify a governing person, former

governing person, or delegate who was, is, or is threatened to be made a respondent in a

proceeding to the extent permitted by Section 8.102 if it is determined in accordance with




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           Ex. 1 to Motion to Extend Stay (D.E. 41-2) at 16 (emphasis added).

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Section 8.103 that: (1) the person: (A) acted in good faith; (B) reasonably believed: (i) in

the case of conduct in the person's official capacity, that the person's conduct was in the

enterprise's best interests; and (ii) in any other case, that the person's conduct was not

opposed to the enterprise's best interests . . .” Tex. Bus. Org. Code §§8.051, 8.101 (emphasis

added). The Texas Business Organizations Act became effective in 2006, and replaced the

Texas Business Corporations Act, which, at least as far as the indemnity of directors

provisions are concerned, was substantially similar to Delaware’s. See In re Voluntary

Purchasing Groups, Inc. Litig., 2002 WL 1269972, at *8 (N.D. Tex. June 5, 2002)(“It

appears that [art. 2.02–1(B)] the Texas Business Corporation Act contains indemnity

provisions which are substantially similar to the Delaware provisions . . .”).

       Cases applying Delaware corporate law on this topic recognize that corporate

directors’ indemnity provisions should be broadly applied as a matter of public policy. See,

e.g., Witco Corp. v. Beekhuis, 38 F.3d 682, 691, 692–93 (3d Cir. 1994) (“Courts have

interpreted these indemnification rights very broadly. E.g., Heffernan v. Pacific Dunlop GNB

Corp., 965 F.2d 369, 375 (7th Cir.1992). Both the language and the purpose of Delaware’s

indemnification statute support interpreting its scope expansively”) and (“. . . there can be

no doubt that there is a close nexus between the lawsuits filed by Witco and Dr. Beekhuis’

former status as an officer and director of Halby”). See further In re Miller, 290 F.3d 263,

267 (5th Cir. 2002), in which the court applied Delaware law and observed:




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       . . . . the available decisions establish a clear framework for analysis. They
       proceed from the proposition that Delaware intended to encourage capable
       people to serve as corporate employees, officers and directors by permitting
       corporations to shield them from liability for their official activities.
       Indemnification also ensures that corporate officials will and can defend
       themselves against unjustified suits and claims. VonFeldt v. Stifel Fin. Corp.,
       714 A.2d 79, 87 (Del.1998). The cases thus broadly interpret “by reason of
       the fact” to require no more than a nexus between the corporate officers’or
       directors’ official activity and the matter for which indemnification is
       sought. See Witco Corp. v. Beekhuis, 38 F.3d 682, 693 (3d Cir.1994);
       Heffernan v. Pacific Dunlop GNB Corp., 965 F.2d 369, 374 (7th Cir.1992).

290 F.3d at 267 (emphasis added).

       Contrary to the allegations made by Wells Fargo, Spillard’s Unsworn Declaration (the

“Spillard Declaration”) is directly relevant to the issue of this Court staying the guaranty

litigation until the indemnity issues are resolved in the bankruptcy court. Lockwood

contends, and the Declaration supports, that Wells Fargo specifically linked Lockwood’s

guaranty to keeping Lockwood “interested and involved” in the companies he runs, as a

director, officer, employee and agent. This fact is certainly relevant to Lockwood’s claim

that he gave the guaranty because of his position with the debtor entities, and so should be

entitled to indemnity from them. This is of course relevant to a further inquiry in the

bankruptcy court over how much the Debtors’ and Lockwood’s financial interests converge,

and whether Lockwood is entitled to indemnity from debtors in that proceeding, and further

support for why this District Court action should be stayed while the indemnity issue are

resolved in the bankruptcy court. See National Oilwell Varco, L.P. v. Mud King Prod., Inc.,

2013 WL 1948766, at * 3 (S.D. Tex. May 9, 2013) (stay extended where potential corporate



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indemnity obligations to one or more of the individual defendants existed by virtue of a

formal indemnity relationship).

       Contrary to Wells Fargo’s citation to Golisano v. Turek, 2015 U.S. Dist. LEXIS

72559, 2015 WL 3522470 (W.D.N.Y. June 4, 2015), for the proposition that the motivation

or a guarantor’s signature is irrelevant, the Spillard Declaration is relevant because, as

explained above, it provides context for why Lockwood signed the guaranty. In Golisano,

“Turek signed the guaranty as an individual and the guaranty contains no indication he was

signing it as an agent of BlueTie.” 2015 WL 3522470, at *5 (emphasis added). While

Lockwood purportedly (and facially) signed the Guaranty in his individual capacity, he also

did it “in consideration of the credit or other financial accommodation described herein

and extended or made to . . . LOCKWOOD INTERNATIONAL, INC, a Texas corporation

. . . .” D.E. 43-1 at 1 (emphasis added). In sum, Lockwood, who was and is now a director,

officer and agent of the debtor entities, after being presented with a guaranty to keep him

“interested and involved” with debtors, and “in consideration of the credit . . . extended” to

those debtors, signs the guaranty.

       “A guarantor under Texas law is a ‘so-called favorite of the law and as such, a

guaranty agreement is construed strictly in [his] favor.’ Haggard v. Bank of Ozarks, Inc., 668

F.3d 196, 199 (5th Cir.2012) (internal quotation marks and citation omitted). Thus, “[w]here

uncertainty exists as to the meaning of a contract of guaranty, its terms should be given a

construction which is most favorable to the guarantor.” Coker [v. Coker], 650 S.W.2d at 394



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n. 1 [(Tex. 1983)] (citations omitted).” McLane Foodservice, Inc. v. Table Rock Restaurants,

L.L.C., 736 F.3d 375, 378 (5th Cir. 2013). “Under Texas law, parol evidence is admissible

to clarify, explain, or give meaning to a writing that is facially incomplete, but only insofar

as the evidence does not vary or contradict those terms of the writing that are complete and

unambiguous.” Jack H. Brown & Co. v. Toys "R' Us, Inc., 906 F.2d 169, 175 (5th Cir. 1990).

Here, the Spillard Declaration explains the terms of the guaranty by explaining that Wells

Fargo specifically insisted keeping Lockwood “interested and involved” in the companies

he ran as a director and officer. Hence, the declaration is relevant and admissible parole

evidence that helps to explain the meaning and context of the guaranty agreement, as well

as the capacity in which Lockwood signed it, as well as the circumstances under which Wells

Fargo sought the guaranty. See generally Gulf & Basco Co. v. Buchanan, 707 S.W.2d 655,

658 (Tex. App.–Houston [1st Dist.] 1986, writ refused n.r.e.) (parol evidence is admissible

to prove a signature by an agent in his representative capacity where the instrument names

the person represented but does not show that the person signed in a representative capacity).

       Also, because of Wells Fargo’s present position (i.e., that the bankruptcy stay should

not cover Lockwood because he is a separate, individual guarantor) directly contradicts its

prior insistence Mr. Lockwood’s continued participation in the debtor’s business was also

intended to be secured by the guaranty. Whether that impacts Lockwood’s obligations under

the guaranty is not the point–it relates to the availability of indemnity to Lockwood by the




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debtor entities.   As such, the Spillard Declaration is both relevant and admissible as

impeachment evidence (Fed. R. Evid. 607), and may form the basis for an estoppel.

       Finally, the Spillard Declaration does not contain extensive hearsay so as to make it

improper or inadmissible evidence. For example, in paragraphs 2 and 3, Spillard states that

he (Spillard) was personally involved in negotiations leading up the signing of the relevant

obligations, and he further states in paragraph 5 that he personally proposed an alternative

to the guaranty to ensure security, but that his proposal was rejected in his presence, and

instead, the lenders insisted on Lockwood’s guaranty. Paragraph 4 also contains Spillard’s

statement of what he did when he “pushed back” on the request that Lockwood be named an

individual guarantor. Spillard’s statements in all paragraphs of the declaration are based on

his first-hand, personal observations and confirm that Lockwood is involved in this

proceeding “by reason of the fact of” his inextricable relationship with LII and the other

Debtors. Spillard’s Declaration is based on his first-hand observations and is directly

relevant both as to the meaning of Lockwood’s guaranty, and the issue of whether the

District Court action should be stayed to allow further development in the bankruptcy case

of whether Lockwood is entitled to indemnity from the debtors.

       For all these reasons, the Court should consider the Unsworn Declaration of Mark

Spillard in its entirety and deny the Motion to Strike.




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       WHEREFORE, Third Party Defendant Michael F. Lockwood prays the Court deny

the Motion to Strike, and for all other just and proper relief to which he may be entitled.

                                    Respectfully submitted,


                                    /s/ Francis I. Spagnoletti
                                    Francis I. Spagnoletti
                                    Texas SBN 18869600
                                    fspagnoletti@spaglaw.com
                                    David S. Toy
                                    Texas SBN 24048029
                                    dtoy@spaglaw.com
                                    Eric J. Rhine
                                    Texas SBN 24060485
                                    erhine@spaglaw.com
                                    SPAGNOLETTI & CO.
                                    401 Louisiana, 8 th Floor
                                    Houston, TX 77002
                                    Telephone: 713 653 5600
                                    Facsimile:     713 653 5656

                                    ATTORNEYS FOR THIRD PARTY DEFENDANT
                                    MICHAEL F. LOCKWOOD

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that service of the foregoing was automatically accomplished
on all counsel of record through the CM/ECF Notice of Electronic filing, in accordance with
the Federal Rules of Civil Procedure on this 16th day of February, 2018.

                                           /s/ Francis I. Spagnoletti
                                           Francis I. Spagnoletti




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